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         Jfn tbe Wniteb ~tates C!Court of jfeberal C!Claims
                                       No. 14-177 C

                                   (Filed: August 8, 2014)

                                            )
BRIDGET ALLEN,                              )                                    FILED
                                            )
                     Plaintiff,             )                                   AUG - 8 2014
                                            )                                  U.S. COURT OF
v.                                          )                                 FEDERAL CLAlMS
                                            )
THE UNITED STATES,                          )
                                            )
                      Defendant.            )
~~~~~~~~~-)


                                   OPINION AND ORDER

CAMPBELL-SMITH, Chief Judge

       Ms. Bridget Allen (plaintiff) brings a claim against the United States (defendant),
challenging the actions of a bankruptcy court judge and seeking monetary relief. See
Complaint (Compl.) ,-r 1, March 4, 2014, Dkt. No. 1. Plaintiff complains that the United
States Bankruptcy Court for the Eastern District of Virginia committed a Fifth
Amendment taking by denying her request to issue a second summons to AT&T, the
corporation that Ms. Allen contends filed a fraudulent claim in her Chapter 13 bankruptcy
proceeding. See Comp I. iii! 15-16, 22. Plaintiff brings her claim without counsel. See
Comp I.

       For the reasons set forth herein, the court finds that it lacks jurisdiction over
plaintiffs claim. Defendant's motion to dismiss is GRANTED.

I.     Background

      Plaintiff filed her complaint against the United States on March 4, 2014. 1 See
generally Compl. This case is one of a series of lawsuits filed by plaintiff in the United


      Plaintiff also filed an Application to Proceed In Forma Pauperis. Plaintiffs
Application to Proceed In Forma Pauperis (Pl.'s Appl.), March 4, 2014, Dkt. No. 3. For

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States Court of Federal Claims since 2013, addressing an alleged conspiracy termed
"Black America: Covert USA Takings." Comp!. if 1. According to plaintiffs alleged
conspiracy, the United States has committed a series of"systematic takings of black
persons['] property and rights." Id.

       In this instance, plaintiffs claim relates to her adversary proceeding in the United
States Bankruptcy Court of the Eastern District of Virginia. Comp!. ifil 8, 13-24.
Plaintiff filed for Chapter 13 bankruptcy in December of 2010 and, thereafter, filed a
related adversary proceeding against AT&T, premised on the allegations that the
company "filed a fraudulent claim in her bankruptcy filing." See Comp!. if 15. During
the proceeding, "plaintiff obtained, but did not timely serve the summons on the
[d]efendant." Comp!. if 16. Plaintiff contends that the bankruptcy judge instructed his
law clerk to tell plaintiff that because he was "just going to dismiss the case," plaintiff
should not bother to attend the pre-trial hearing. Comp!. ifil 17-19.

       Plaintiff alleges that the judge and his law clerk have "a history of interfering with
the [p]laintiffs attempts to access the bankruptcy court ... and to obtain summonses
from the clerk's office." Comp!. if 21. Plaintiff claims that the denial of the ability to
issue a second summons upon AT&T "effected a 'confiscation' of the [p]laintiffs
bankruptcy claim" and constitutes a "'per se' taking." Comp!. iii! 14, 22. Plaintiff seeks
$300,000 in damages for the alleged taking; the amount she contends was "robbed ... of
any value" by the bankruptcy judge's actions. Comp!. iii! 22, 25.

       Defendant filed a Motion to Dismiss (Def.'s Mot.) under RCFC 12(b)(l) and
12(b)(6) on April 29, 2014, Dkt. No. 6, arguing that the court lacks subject matter
jurisdiction over plaintiffs claim and that plaintiff fails to state a claim for which relief
can be granted. Def.'s Mot. 4-5.
       After the filing of defendant's Motion to Dismiss, plaintiff filed the following
three motions: (I) Plaintiffs Motion for Disqualification, June 6, 2014, Dkt. No. 7; (2)
Plaintiffs Motion to Request Defendant's Compliance with RCFC 5.4 and RCFC 11
(Pl.'s Mot. Compliance), June 6, 2014, Dkt. No. 8; and (3) Plaintiffs Motion to Amend
and Supplement the Complaint (Pl.'s Mot. Am.), June 10, 2014, Dkt. No. 10.

        Plaintiff also filed her Opposition to Defendant's Motion to Dismiss Complaint
(Pl.'s Opp'n), June 10, 2014, Dkt. No. 9.

       Defendant responded to plaintiffs motions with: (1) Defendant's Response to
Plaintiffs Motion for Disqualification and Motion to Request Compliance with Rule 5.4



the limited purpose of addressing the court's jurisdiction, that motion is GRANTED.
The Clerk will file the complaint with no filing fee.


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and Rule I~ (Def. '_s Resp.); Ju?e 23, 2014, Dkt. No. 11; and (2) Defendant's Reply in
Support of 1.ts Moho~ to D1sm1ss and Response to Plaintiffs Motion for Leave to Amend
the _c_omplaint (Def. s Reply), June 27, 2014, Dkt. No. 12. The matter is now ripe for
dec1s10n.

II.    Legal Standards

        Comp.laints filed by pro se plaintiffs are held to "less stringent standards than
formal pleadings drafte~ b~ lawyers." Haines v. Kerner, 404 U.S. 519, 520 (1972).
Ne~ertheless, pr~ se plaintiffs must meet jurisdictional requirements. See Kelley v.
Secy, U.S. Dep. t of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987); Bernard v. United
States, 59 Fed. CL 497, 499 (2004), aff!!, 98 Fed. App'x 860 (Fed. Cir. 2004).

        A motion to dismiss for lack of jurisdiction is properly raised under RCFC
 12(b)( 1) for lack of subject matter jurisdiction. Subject matter jurisdiction may be
addressed at any time by the parties, by the court sua sponte, or on appeal. Booth v.
United States, 990 F.2d 617, 620 (Fed. Cir. 1993). Once jurisdiction is challenged by the
court or the opposing party, the plaintiff "bears the burden of establishing jurisdiction."
J. Mcintyre Mach., Ltd. v. Nicastro, 131 S. Ct. 2780, 2792 (2011). A plaintiff must
establish jurisdiction by a "preponderance of the evidence." Reynolds v. Army & Air
Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988); Alaska v. United States, 32 Fed.
Cl. 689, 695 ( 1995). If the court determines that it does not have subject matter
jurisdiction, it must dismiss the claim. RCFC 12(h)(3).

        The Tucker Act provides for the court's jurisdiction over "any claim against the
United States founded upon either the Constitution, or any act of Congress or any
regulation of an executive department, or upon any express or implied contract with the
United States, or for liquidated or unliquidated damages in cases not sounding in tort."
28 U.S.C. § 149l(a)(l) (2012). To qualify under the Tucker Act, a claim must be for
money damages against the United States, and the plaintiff "must demonstrate that the
source of substantive law upon which he or she relies is a money mandating source."
Smith v. United States, 495 Fed. App'x 44, 47 (Fed. Cir. 2012). The Tucker Act does not
create, by itself, a substantive right enforceable against the United States for monetary
relief. Id.

III.   Discussion

      Before turning to the substance of defendant's motion, the court addresses two
procedural matters:(!) Plaintiffs Motion to Request Defendant's Compliance with
RCFC 5.4 and RCFC 11; and (2) Plaintiffs Motion for Disqualification.

       Plaintiff alleges that the government has violated RCFC 5 .4 and RCFC 11 because
its motion is not logically arranged, does not address the specific facts of the case,
contains irrelevant material, and is only 4.5 to 6 pages long. Pl.'s Mot. Compliance 1-2.


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The court has review.ed an.d carefully considered the parties' filings. The court finds that
de~endant has comphed with the rules of this court in filing its briefs, and plaintiffs
claim that RCFC 5.4 and RCFC 11 have been violated is meritless. Plaintiffs Motion to
Request Defendant's Compliance with RCFC 5.4 and RCFC 11 is DENIED.

        Plaintiff further avers that the undersigned should recuse herself because of
defendan~'s improper influence on the court, along with the undersigned's allegedly
preferential treatment towards defendant, racial bias against plaintiff, and collusion
amongst judges across different federal courts "wresting away plaintiffs property." Pl.'s
Mot. Disqualification 1-5 (alleging the court's conflict of interest, bias, and prejudice).
The standard for disqualification requires a judge to "disqualify [her]self in any
proceeding in which [her] impartiality might reasonably be questioned." 28 U.S.C. §
455(a); see also 28 U.S.C. § 455(b) (outlining specific instances when impartiality or bias
may interfere with a judge's ability to deliberate on a case such as the existence of a
fiduciary interest or personal bias). Plaintiffs Motion for Disqualification fails to
provide any support for plaintiffs bare assertion that the undersigned has manifested
bias. Nor do the allegations raise the appearance of impropriety or fraud. Therefore,
Plaintiffs Motion for Disqualification has no merit and is hereby DENIED.

       The court now considers whether plaintiffs motion for leave to amend merits
granting, whether plaintiffs claim falls within the jurisdictional reach of the court, and if
not, whether plaintiffs claim warrants a transfer in the interest of justice.

       A.      Plaintiffs Motion for Leave to Amend Is Futile

       After the filing of defendant's motion to dismiss, plaintiff filed a Motion to
Amend and Supplement the Complaint. Pl.' s Mot. Am. 1. "[A] party may amend its
pleading only with the opposing party's written consent or the court's leave," and "[t]he
court should freely give leave when justice so requires." RCFC 15(a)(2). "It is well
established that the grant or denial of an opportunity to amend pleadings is within the
discretion of the trial court." Mitsui Foods, Inc. v. United States, 867 F.2d 1401, 1403
(Fed. Cir. 1989). While the court should liberally exercise its discretion to grant leave to
amend, denial of such a request is justified when the amendment would be futile. Id. at
1403-04.

        Plaintiff argues that she should be permitted to amend her complaint to incorporate
new information. Pl.'s Mot. Am. 1. This "recent" information-as described in
Plaintiffs Motion for Leave to Amend Her Complaint-is nothing more than the same
claim plaintiff made in her complaint regarding the bankruptcy proceeding and the
bankruptcy court's alleged failure to allow her to issue a second summons after her late
filing. See id. 1-3. The amendment does not propose a cure for the jurisdictional defect
inherent in her claim, but continues to assert that the actions of the bankruptcy judge
violated her constitutional rights by effecting a Fifth Amendment taking. See id.


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      Because plaintiffs proposed amendment merely reiterates the claims asserted in
her complaint, her request is a futile one. Thus, plaintiffs motion for leave to amend her
complaint is DENIED.

       B.      The Court Lacks Subject Matter Jurisdiction Over Plaintiffs Claim

      Defendant argues that the court does not have jurisdiction over plaintiffs claim
because the dispute arises out ofa bankruptcy judge's decision to deny the issuance ofa
second summons to a particular creditor (AT&T) in plaintiffs bankruptcy proceeding.
See Def. 's Mot. 5-6. Defendant is correct. This court does not have jurisdiction to
review decisions of the bankruptcy court. See Allustiarte v. United States, 256 F.3d
1349, 1351-52 (Fed. Cir. 200 I). Federal district courts have exclusive jurisdiction over
bankruptcy cases. See Capelouto v. United States, 99 Fed. Cl. 682, 691 (2011) (citing 28
U.S.C. § 1334(a)).

       Defendant further argues that characterizing an action as a taking does not
necessarily vest the court with jurisdiction. Def.' s Mot. 5 (citing Pines Residential
Treatment Ctr., Inc. v. United States, 444 F.3d 1379, 1380 (Fed. Cir. 2006); Katz v.
Cisneros, 16 F.3d 1204, 1207 (Fed. Cir. 1994)). Defendant contends that plaintiffs claim
cannot stand as a Fifth Amendment takings claim because in actuality, plaintiff takes
issue with the bankruptcy judge's denial of her request to issue a second summons to a
creditor in her bankruptcy proceeding. See Def.'s Mot. 5; see also Comp!. i! 20.
Defendant adds that this court has no jurisdiction over plaintiffs allegations regarding the
conduct of the bankruptcy judge and his law clerk, as these claims sound in tort. See
Def.'s Mot. 6 (citing McCauley v. United States, 38 Fed. Cl. 250, 265 (1997); Brown v.
United States, 105 F.3d621, 623 (Fed. Cir. 1997)).

        Plaintiff responded to defendant's motion to dismiss, arguing that a per se taking
allegation is sufficient to invoke the court's jurisdiction. Pl.'s Opp'n 7. Plaintiff asserts
that the facts pertaining to her claim entitle her to relief regardless of any jurisdictional
defects. Id.

       The court, however, must "look to the true nature of the action in determining the
existence ... of jurisdiction." Katz, 16 F.3d at 1207. Although plaintiff cites to various
Fifth Amendment taking cases, including Lucas v. S.C. Coastal Council, 505 U.S. 1003,
1014 (1992), Pl.'s Opp'n 11, the mere characterization of her claim as a Fifth
Amendment taking does not make it so.

       Effectively, plaintiff seeks to challenge a bankruptcy .ju~ge_' s .exercise ~f his
discretion. See generally Comp!. This court does not have JUnsd1ct1on .to review
discretionary rulings in bankruptcy court proceedings. See, e.g., Allustiarte, 256 F .3d at
1351-52; Brown, 105 F.3d at 623; McCauley, 38 Fed. Cl. at 265. Because Congress has


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vested the district courts with exclusive jurisdiction over bankruptcy cases, see
Capelouto, 99 Fed. Cl. at 691, plaintiff cannot establish jurisdiction in this court.

       Without jurisdiction to consider plaintiffs claim, the court need not address
defendant's arguments regarding plaintiffs failure to state a claim for which relief can be
granted.

       C.      A Transfer of This Case Is Not in the Interest of Justice

        When the court determines that it lacks jurisdiction, it must transfer the case to a
court where the action could have been brought if such transfer "is in the interest of
justice." 28 U.S.C. § 1631; see also Tex. Peanut Farmers v. United States, 409 F.3d
1370, 1374-75 (Fed. Cir. 2005). An appeal of a ruling by a bankruptcy court judge may
be taken to the district court. See Capelouto, 99 Fed. Cl. at 691 (citing 28 U.S.C. §
1334(a)); see also Celotex Corp. v. Edwards, 514 U.S. 300, 313 (1995). The district
court has jurisdiction to hear appeals from final judgments, orders, and decrees of
bankruptcy court judges, if a notice of appeal is timely filed. See Ballard v. Tamojira,
Inc., 106 F.3d 389, *l (4th Cir. 1997) (unpublished table decision). Because Ms. Allen
desires to challenge the actions of the bankruptcy court, the proper recourse is to appeal
the bankruptcy court's decision under the court's set procedures.

       A review of the dismissal order issued in the bankruptcy proceeding indicates that
Ms. Allen's bankruptcy petition was dismissed on August 13, 2012, nearly two years ago.
Order Dismissing Case, In re Bridget Allen, No. 10-20094, Dkt. No. 136 (Bankr. E.D.
Va. Aug. 13, 2012). Had plaintiff wished to appeal that decision, she could have done so
within fourteen days of the date of the entry of the order of dismissal. See Fed. R. Bankr.
P. 8002(a) ("The notice of appeal shall be filed with the clerk within 14 days of the date
of the entry of the judgment, order, or decree appealed from."). Because the time for
appeal has expired on plaintiffs claim, a transfer of her claim to the district court would
serve no useful purpose, as no action can be taken on an untimely filed appeal such as
this. Because the court finds that a transfer of plaintiffs claim would not be in the
interest of justice, it declines to do so.

IV.     Conclusion
        For the reasons described more fully above, the court lacks jurisdiction over
 plaintiffs claim. For the limited purpose of evaluating the court's jurisdicti~n, plaintiffs
 Application to Proceed In Forma Pauper.is is G~NTE.D. ~efe~dant's Motton t~ .
 Dismiss is GRANTED. Plaintiffs Mot10n for D1squahficat1on 1s DENIED. Pla1~tl~fs
 Motion to Request Defendant's Compliance with RCFC 5.4 and RCFC 11 and Plamt1ffs




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Motion to Amend and Supplement the Complaint are DENIED. The Clerk of the Court
is directed to enter judgment for the government. No costs.


            IT IS SO ORDERED.




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